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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:06CR116
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                 MEMORANDUM
                                            )                  AND ORDER
CHARMAR BROWN,                              )
                                            )
             Defendant.                     )

      This matter is before the Court on: the Defendant’s motion to alter or amend the

memorandum and order and judgment denying his § 2255 motion (Filing No. 842). The

motion was brought pursuant to Federal Rule of Civil Procedure 59(e).

      In the Court’s previously issued Memorandum and Order and Judgment (Filing Nos.

837, 838), the Court denied the Defendant’s motions to amend his § 2255 motion (Filing

No. 800) and for an evidentiary hearing (Filing No. 834). The Defendant now seeks to

reargue portions of his § 2255 motion.

      The Court has rendered its decision regarding the Defendant’s § 2255 motion. Rule

9 of the Rules Governing Section 2255 Proceedings provides: “Before presenting a second

or successive motion, the moving party must obtain an order from the appropriate court of

appeals authorizing the district court to consider the motion, as required by 28 U.S.C. §

2255, para. 8.” The Eighth Circuit Court of Appals has considered multiple motions for new

trial in the § 2255 context as successive motions. United States v. Lambros, 404 F.3d

1034, 1037 (8th Cir. 2005). Therefore, the Defendant’s motion is considered a successive

§ 2255 motion and denied for lack of an order from the Eighth Circuit allowing this Court

to consider the motion.
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      IT IS ORDERED:

      1.    The Defendant’s motion to alter or amend his § 2255 motion pursuant to

            Rule 59(e) (Filing No. 842) is denied; and

      2.    The Clerk is directed to mail a copy of this Memorandum and Order to the

            Defendant at his last known address.

      DATED this 7th day of December, 2011.

                                              BY THE COURT:

                                              s/Laurie Smith Camp
                                              Chief United States District Judge




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